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                                                                       SNELL & WILMER L.L.P.                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                                      Central District of California
                                                                   6   600 Anton Blvd, Suite 1400                                     BY bertelsen DEPUTY CLERK
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                                                                   8
                                                                       Attorneys for Twain GL XXV, LLC
                                                                   9

                                                                  10                             UNITED STATES BANKRUPTCY COURT
                                                                  11                 CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
SNELL & WILMER
                              COSTA MESA, CALIFORNIA 92626-7689
                                 600 ANTON BLVD, SUITE 1400




                                                                  12
                                                                       In re:
                     LAW OFFICES




                                                                  13
            L.L.P.




                                                                                                                            Case No. 9:23-bk-10690-RC
                                                                  14   SA HOSPITAL ACQUISITION GROUP, LLC
                                                                                                                            Chapter 11
                                                                  15                                                        ORDER GRANTING TWAIN GL
                                                                                          Debtor.
                                                                                                                            XXV, LLC’S MOTION TO DISMISS
                                                                  16                                                        CHAPTER 11 CASE AND
                                                                                                                            DISMISSING CHAPTER 11 CASE
                                                                  17                                                        [DKT. NO. 5]
                                                                  18                                                        Date:        August 18, 2023
                                                                                                                            Time:        11:00 a.m.
                                                                  19                                                        Place:       411 West Fourth Street
                                                                                                                                         Santa Ana, CA 92701
                                                                  20                                                                     Courtroom 5D
                                                                  21

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                                                                  24            Upon Twain GL XXV, LLC’s Motion to Dismiss Chapter 11 Case [Dkt. No. 5]
                                                                  25   (“Motion”), filed by Twain GL XXV, LLC, a creditor and party-in-interest, for entry of an order
                                                                  26   dismissing the above-captioned case (“Case”); and the Court having jurisdiction to consider the
                                                                  27   Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and the Court
                                                                  28   having found notice of the Motion was proper under the circumstances; and the Court having


                                                                                                     ORDER GRANTING MOTION TO DISMISS
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                                                                   1   found and determined that the legal and factual bases set forth in the Motion establish good cause

                                                                   2   for the relief granted herein; and any objections to the relief requested herein having been

                                                                   3   withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

                                                                   4   therefor, for the reasons set forth on the record and in the Tentative Ruling, a copy of which is

                                                                   5   attached hereto as Exhibit “1,” and which Tentative Ruling is adopted as the Court’s final ruling,

                                                                   6   it is

                                                                   7              HEREBY ORDERED THAT:

                                                                   8           1. The Motion is granted.

                                                                   9           2. The Court dismisses this Case as being filed without proper authority.

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SNELL & WILMER
                              COSTA MESA, CALIFORNIA 92626-7689
                                 600 ANTON BLVD, SUITE 1400




                                                                  12
                     LAW OFFICES




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            L.L.P.




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                                                                  24   Date: August 21, 2023

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                                                                                                        ORDER GRANTING MOTION TO DISMISS
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              Exhibit 1
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